                       UNITED STATES DISTRICT COURT FOR THE
                       WESTERN DISTRICT OF NORTH CAROLINA
                                CHARLOTTE DIVISION

UNITED STATES OF AMERICA,           )
                                    )              DOCKET NO: 3:19-CR-272-MOC-DSC
     V.                             )
                                    )              ORDER
                                    )
JOSE MARTINEZ-LOZANO                )
___________________________________ )

       This matter is before the Court on its own Motion to administratively close the case as to

Jose Martinez-Lozano. The defendant appears to remain a fugitive with no activity taking

place in this case in recent times.

       It is, therefore, ORDERED that this case be deemed closed for administrative purposes

only, subject to re-opening upon the apprehension or appearance of the defendant.



                                        Signed: October 20, 2020




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